 

CaSe 1217-CV-OOl41-PLl\/|-P.]G ECF NO. 9 filed 02/16/17 Page|D.§']"-EWQ §§ 2

February 16, 2017 9:50 AM

CLERK OF COURT
U.S. D|STR|CT COURT

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BY: ns / Swnned: (r"q

Mr. Roger Dale Roberts Feb., 14th., 2017
3548 Roosevelt Road

Muskegon, Michigan 49441

231-329-2411

rd.robert558@yahoo.com

Clerk of the Court

United States District Court
Western District of Michigan

110 Michigan St., N.W., Suite 399
Grand Rapids, Michigan 49503
616-456-2381

Re: Case ld. No. 1:17-cv-141, Exhibits requested

C|erk of the United States District Court for the Western District of Michigan:

Per your request, Feb 13th., 2017, Please find enclosed eight exact duplicate original copies of a exhibits ”A”,
”B”, and ”C”, as described in the complaint. One for each of the six defendants and two original copies for the
Court.

Please place these pleadings in the appropriate docket so they may be properly heard. Thank you in

advance for your prompt attention to this matter.

Truly, yours
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Mr. Roger D.
Pro Per
Plaintiff/Petitioner

Case 1:17-cv-OOl41-PL|\/|-P.]G ECF No. 9 filed 02/16/17 Page|D.GZ Page 2 of 2

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